%AO 247 (02/08) Case    4:07-cr-00045-LGW-CLR
                Order Regarding Motion for Sentence Reduction   Document 107 Filed 03/12/09 Page 1 of 1

                                        UNITED STATES DISTRICT COURIL.ED
                                                                      for the                   S    'T1iT:•fll\/.
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                                                          Southern District of Georgia
                                                             Savannah Division                ,nno MAP 17 PM
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                   United States of America
                                   V.                                   )
                                                                        )   Case No: CR407 61N61,wz /F rA -^^
                       Randy Antonio Martin
                                                                        )   USMNo: 13071-021
Date of Previous Judgment: July 24 , 2007                               )   Richard C. Metz
(Use Date of Last Amended Judgment if Applicable)                       )   Defendant's Attorney


                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant Ethe Director of the Bureau of Prisons 0 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         F] DENIED.XnGRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                               the last judgment issued) of     168             months is reduced to             135 months

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:        31               Amended Offense Level:     29
Criminal History Category:     III              Criminal History Category: ITT
Previous Guideline Range:  135   to 168 months  Amended Guideline Range 120 to 135 months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
    Other (explain):

III. ADDITIONAL COMMENTS
In accordance with the required review of the sentencing factors set forth in 18 U.S.C. 3553(a), the Court imposes a
sentence at the top end of the amended advisory guideline range. The defendant has a considerable history of
involvement in drug distribution. At the time of sentencing, there was no indication that the defendant had engaged in
any legitimate occupation for the previous seven years. Based on the nature of the offense, as well as the history and
characteristics of the defendant, the Court has imposed a sentence of 135 months.

Except as provided above, all provisions of the judgment dated Ju                                      shall remain in effect.
IT IS SO ORDERED.

Order Date:             3- /L_W7c                                                                          X-
                                                                                               Judge'ignature


                                                                            B. Avant Edenfield
Effective Date:                                                             United States District Judge
                                                                            For the Southern District of Georgia
                       (if different from order date)                                        Printed name and title
